JS 44 (Rev. 10/20)                 Case 2:22-cv-03140-KSM
                                                     CIVILDocument
                                                           COVER 1SHEET
                                                                    Filed 08/08/22 Page 1 of 11
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS
           Harold and Linda Harwick                                                                       Deere & Company
    (b)    County of Residence of First Listed Plaintiff           Tioga County                           County of Residence of First Listed Defendant              Rock Island
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
      James P. Carfagno, de Luca Levine LLC 215-383-0081
      301 E. Germantown Pike 3rd Floor East Norriton, PA
      19401
II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                  3   Federal Question                                                                   PTF        DEF                                         PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                     Citizen of This State          ✖ 1          1      Incorporated or Principal Place         4     4
                                                                                                                                                      of Business In This State

    2   U.S. Government               ✖ 4    Diversity                                           Citizen of Another State            2          2   Incorporated and Principal Place           5    ✖ 5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                          of Business In Another State

                                                                                                 Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                    Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                           FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                       PERSONAL INJURY               PERSONAL INJURY               625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                          310 Airplane                 365 Personal Injury -              of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product             Product Liability          690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                Liability               367 Health Care/                                                                                      400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &             Pharmaceutical                                                  PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment            Slander                     Personal Injury                                                  820 Copyrights                   430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’           Product Liability                                                830 Patent                       450 Commerce
    152 Recovery of Defaulted                Liability               368 Asbestos Personal                                                835 Patent - Abbreviated         460 Deportation
         Student Loans                  340 Marine                       Injury Product                                                       New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product               Liability                                                        840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment              Liability              PERSONAL PROPERTY                        LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits           350 Motor Vehicle            370 Other Fraud                710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits             355 Motor Vehicle            371 Truth in Lending               Act                                                                485 Telephone Consumer
    190 Other Contract                      Product Liability        380 Other Personal             720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability      360 Other Personal               Property Damage                Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                           Injury                 ✖ 385 Property Damage            740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                        362 Personal Injury -            Product Liability          751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                            Medical Malpractice                                         Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS              PRISONER PETITIONS              790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights       Habeas Corpus:                 791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                     441 Voting                   463 Alien Detainee                 Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment               510 Motions to Vacate                                               870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                   443 Housing/                     Sentence                                                             or Defendant)                896 Arbitration
    245 Tort Product Liability              Accommodations           530 General                                                         871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -   535 Death Penalty                  IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                            Employment               Other:                         462 Naturalization Application                                             Agency Decision
                                        446 Amer. w/Disabilities -   540 Mandamus & Other           465 Other Immigration                                                  950 Constitutionality of
                                            Other                    550 Civil Rights                   Actions                                                                State Statutes
                                        448 Education                555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                     3     Remanded from              4 Reinstated or             5 Transferred from       6 Multidistrict                    8 Multidistrict
      Proceeding             State Court                            Appellate Court              Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                             (specify)                  Transfer                         Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         28 U.S.C. §1332(a)(1)
VI. CAUSE OF ACTION                      Brief description of cause:
                                         Property Damage
VII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                          JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                         JUDGE                                                               DOCKET NUMBER
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
8/8/2022
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                   JUDGE                           MAG. JUDGE
                             Case 2:22-cv-03140-KSM
                                                UNITED Document   1 Filed
                                                       STATES DISTRICT    08/08/22 Page 2 of 11
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                              380 Pumpkin Hill Rd. Mansfield, PA 16933
Address of Plaintiff: ______________________________________________________________________________________________
                                                One John Deere Pl. Moline, IL 61265
Address of Defendant: ____________________________________________________________________________________________
                                                          380 Pumpkin Hill Rd. Mansfield, PA 16933
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                       No
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                       No
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                       No
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                       No
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      08/08/2022
DATE: __________________________________                                     0XVWVLJQKHUH
                                                             __________________________________________                                     82960
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
       2.     FELA                                                                               2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.    Assault, Defamation
       4.     Antitrust                                                                          4.    Marine Personal Injury
       5.     Patent                                                                             5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.    Other Personal Injury (Please specify): _____________________
       7.     Civil Rights                                                                       7.    Products Liability
       8.     Habeas Corpus                                                                      8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                       ✔    9.    All other Diversity Cases
       10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
                                                                                                                                 Subrogation product liability
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

            James P. Carfagno
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:


     ✔        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


      08/08/2022
DATE: __________________________________                                   6LJQKHUHLIDSSOLFDEOH
                                                             __________________________________________                                     82960
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (/2018)
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 Harold and Linda Harwick
 380 Pumpkin Hill Rd.
 Mansfield, PA 16933                                      Civil Action No:
                      Plaintiffs,
               v.                                         Jury Trial Demanded

 Deere & Company
 One John Deere Pl.
 Moline, IL 61265

                        Defendant.

                                          COMPLAINT

       Plaintiffs, Harold and Linda Harwick, by and through the undersigned counsel, hereby

demand judgment against the above-named Defendant, and states by way of Complaint against it,

as follows:

                                            PARTIES

       1.       Harold and Linda Harwick, (hereinafter “Plaintiffs”) are both adult individuals, and

at all times relevant hereto, were the owners of the property located at 380 Pumpkin Hill Rd.

Mansfield PA 16933 (hereinafter “subject property”).

       2.       Deere & Company (hereinafter “Defendant”), at all times relevant hereto, was a

Delaware corporation with a principal place of business at One John Deere Pl. Moline, IL 61265.

       3.       Upon information and belief, Defendant was engaged in, inter alia, the business of

designing, manufacturing, assembling, distributing, and selling products and services related to

farming and agriculture.
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                                  JURISDICTION AND VENUE

       4.        Jurisdiction is based on 28 U.S.C. §1332(a)(1) as this action involves a controversy

between entities and/or citizens of different states. Moreover, the amount in controversy exceeds

the jurisdictional threshold of this Court (exclusive of interest and costs).

       5.        Venue is proper in this district based on 28 U.S.C. $1391(d) in that the defendant

is a resident who regularly conduct business in this district and is subject to personal jurisdiction.

                                  FACTUAL BACKGROUND

       6.        Plaintiff incorporates by reference the preceding paragraphs as though set forth at

length herein.

       7.        Prior to February 7, 2021, Defendant designed, manufactured, assembled, tested,

inspected, marketed, distributed, and placed into the stream of commerce the subject 2012 John

Deere RSX850I ATV (hereinafter “subject ATV”), and its component parts, said product being

intended for use by consumers for the ordinary purpose associated with motorized off-highway

vehicles.

       8.        Prior to February 7, 2021, Plaintiffs operated the subject ATV in a foreseeable,

normal, ordinary, and intended manner.

       9.        On February 7, 2021, a fire erupted in the detached garage of the subject property

as a direct result of a malfunction of the subject ATV.

       10.       The fire caused extensive damage to the real and personal property of Plaintiffs, as

well as the imposition of additional expenses and hardship besides.

       11.       Further investigation revealed that the fire was caused by a malfunction in the

subject ATV, causing it to start a fire that spread through Plaintiffs’ property.

       12.       At all times relevant hereto, the subject ATV was not modified, changed, altered,
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misused or abused by Plaintiffs, or any other users, after it was placed into the stream of commerce

by Defendant.

       13.      At all times material hereto, Defendant knew, and intended, that members of the

public would use their product, and they furthermore knew of the specific uses, purposes and

requirements for which the subject ATV would be utilized.

       14.      Defendant designed, manufactured, assembled, tested, inspected, marketed,

distributed and placed into the stream of commerce the subject ATV in a dangerous and defective

condition.

       15.      As a result of the aforementioned fire, Plaintiffs sustained damages in an amount

in excess of $150,000.00.

                                COUNT I –STRICT LIABILITY


       16.      Plaintiff incorporates by reference the preceding averments as though the same

 were set forth at length herein.

       17.      Defendant is engaged in the business of designing, manufacturing, testing,

 inspecting, assembling, marketing, selling, distributing ATVs and their component parts.

       18.      Furthermore, Defendant specifically designed, manufactured, tested, inspected,

 assembled, marketed, sold, distributed, and placed into the stream of commerce the subject ATV

 at issue in this case.

       19.      The subject ATV was not improperly modified, changed, altered, misused, or

 abused by Plaintiffs after Defendant placed the product into the stream of commerce.

       20.      Defendant knew, and intended that the subject ATV would be used by members

 of the general public, and furthermore knew of the specific uses, purposes and requirements for

 which said ATVs would be utilized.
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      21.      Defendant designed, manufactured, tested, inspected, assembled, marketed, sold,

distributed, and placed into the stream of commerce the subject ATV in a defective and

unreasonably dangerous condition, which ultimately led to a catastrophic failure and/or

malfunction.

      22.      Defendant knew, or should have known, that the subject ATV would, and did,

reach Plaintiffs without substantial change in the condition in which it was originally selected

and sold.

      23.      The subject ATV was not altered by Plaintiffs in any manner that caused or

contributed to the fire after the product originally left the possession of Defendant.

      24.      Plaintiffs operated the subject ATV in a foreseeable, normal, ordinary and

intended manner at all relevant times.

      25.      The fire and its resulting property damage were caused by the defective and

unreasonably dangerous condition of the subject ATV at the time it left the hands of Defendant,

including design defects and manufacturing defects.

      26.      The aforementioned defects, and/or unreasonably dangerous conditions, existed

at the time Defendants placed the subject ATV into the stream of commerce and were

foreseeable.

      27.      The defective and unreasonably dangerous conditions of the subject ATV were

direct and proximate causes of the damages sustained by Plaintiffs.

      28.      The defective and unreasonably dangerous conditions caused by Defendant of the

subject ATV proximately caused a fire to occur at the subject property in the following ways:

               a.     carelessly and negligently failing to design, manufacture, test, inspect,
                      assemble, market, sell, distribute, and/or place into the stream of commerce
                      a properly functioning and defect-free ATV, which after reasonable and
                      foreseeable use malfunctioned and/or catastrophically failed;
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              b.     carelessly and negligently failing to properly design, manufacture, test,
                     inspect, assemble, market, sell, distribute, and/or place into the stream of
                     commerce the subject ATV free from defects,

              c.     carelessly and negligently failing to properly determine that the subject
                     ATV was not in a safe condition, and free of all material defects;

              d.     carelessly and negligently designing, manufacturing, testing, inspecting,
                     assembling, marketing, selling, distributing, and/or placing into the stream
                     of commerce the subject ATV when it knew, or should have known, that
                     the product was unsafe and unfit for its intended use;

              e.     carelessly and negligently designing, manufacturing, testing, inspecting,
                     assembling, marketing, selling, distributing, and/or placing into the stream
                     of commerce the subject ATV when Defendants knew, or should have
                     known, that the product would be inadequate for the reasons for which it
                     was purchased;

              f.     carelessly and negligently designing, manufacturing, testing, inspecting,
                     assembling, marketing, selling, distributing, and/or placing into the stream
                     of commerce the subject ATV that catastrophically failed and/or
                     malfunctioned;

              g.     carelessly and negligently designing, manufacturing, testing, inspecting,
                     assembling, marketing, selling, and/or placing into the stream of commerce
                     a dangerous and defective ATV that Defendants knew, or reasonably should
                     have known, exposed users to an unreasonable risk of harm;

              h.     carelessly and negligently failing to properly and adequately design,
                     manufacture, test, inspect, assemble, market, sell, and distribute the subject
                     ATV prior to introducing the product into the stream of commerce;


      29.     The defective and unreasonably dangerous conditions caused by Defendant

caused a fire to occur at the subject property, which resulted in damages to Plaintiff.

      30.     Therefore, Defendant is strictly liable to Plaintiff under applicable case law,

statutes and standards within the Commonwealth of Pennsylvania.

      31.     As a direct and proximate result, Plaintiffs sustained and incurred damage to their

property and the imposition of additional expenses in an amount in excess of $150,000.00.
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      WHEREFORE, Plaintiffs, Linda and Harold Harwick, respectfully request judgment

against Defendant Deere & Company in an amount in excess of $150,000.00, plus costs incident

to this suit, delay damages, and for such other relief as this Honorable Court shall deem

appropriate under the circumstances.


                                   COUNT II –NEGLIGENCE


      32.     Plaintiffs incorporate by reference the preceding averments as though the same

were set forth at length herein.

      35.     Defendant knew, and intended, that the subject ATV would be used by members

of the general public, and furthermore knew of the specific uses, purposes and requirements for

which said product would be utilize.

      36.     The aforementioned damages were the direct and proximate result of the

negligence and careless conduct and/or acts or omissions of Defendant, by and through their

employees, agents, technicians, vendors, subcontractors, suppliers and/or servants, more

specifically failing to exercise reasonable care described as follows:

              a.      failing to design, manufacture, inspect, assemble, distribute and/or market
                      a properly functioning and defect-free ATV, which after reasonable and
                      foreseeable use malfunctioned and catastrophically failed;

              b.      designing, manufacturing, inspecting, assembling, distributing and/or
                      marketing the ATV when Defendant knew, or should have known, that the
                      ATV was unsafe and unfit for its intended use;

              c.      designing, manufacturing, inspecting, assembling, distributing and/or
                      marketing the ATV when Defendant knew, or should have known, that the
                      ATV would be inadequate for the reasons for which it was purchased;

              d.      designing, manufacturing, testing, inspecting, assembling, distributing
                      and/or marketing an ATV that catastrophically failed and/or malfunctioned;

              e.      designing, manufacturing, testing, inspecting, assembling, distributing
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                      and/or marketing a dangerously defective ATV that Defendant knew, or
                      reasonably should have known, exposed users to an unreasonable risk of
                      harm;

              f.      failing to properly and adequately design, manufacture, inspect, assemble,
                      market, sell, distribute and/or test the ATV, and its component parts prior
                      to introducing the product into the stream of commerce;

              g.      designing, manufacturing, testing, inspecting, assembling, distributing
                      and/or marketing the ATV in a defective condition which rendered the
                      product hazardous and dangerous for its contemplated and intended use;

      37.     As a direct and proximate result of Defendant’s aforementioned negligent and

careless actions and/or omissions, the aforementioned fire occurred and Defendant is liable to

Plaintiffs for the damages sustained.

      38.     For these reasons, Defendant is liable to Plaintiffs as a result of the aforementioned

fire, for which Plaintiffs sustained damages in an amount in excess of $150,000.00.

      WHEREFORE, Plaintiffs, Linda and Harold Harwick, respectfully request judgment

against Defendant Deere & Company in an amount in excess of $150,000.00, plus costs incident

to this suit, delay damages, and for such other relief as this Honorable Court shall deem

appropriate under the circumstances.

            COUNT III- BREACH OF EXPRESS AND IMPLIED WARRANTIES

      39.     Plaintiffs incorporate by reference the preceding averments as though the same

were set forth at length herein.

      40.     The design, manufacture, testing, inspecting, assembling, marketing, selling,

distributing and/or placing into the stream of commerce of the subject ATV was not performed

in a professional, competent, and workmanlike manner for the reasons set forth herein, and as

such posed a hazard to Plaintiffs and their property.

      41.     Accordingly, Defendant breached the express and implied warranties of the
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agreement, including but not limited to the implied warranty of quality workmanship.

      42.     Pursuant to the agreement, Defendant expressly and/or impliedly warranted to

Plaintiffs that all work performed in connection with design, manufacture, testing, inspecting,

assembling, marketing, selling, distributing, and/or placing into the stream of commerce of the

subject ATV would be free from defects.

      43.     In light of the defects and negligence described herein, Defendant did not design,

manufacture, test, inspect, assemble, market, sell, distribute, and/or place into the stream of

commerce the subject ATV in a good and workmanlike manner.

      44.     Moreover, in light of the defects and negligence described herein, Defendant

breached warranties that were expressed and/or implied in contracts applicable to the design,

manufacture, testing, inspecting, assembling, marketing, selling, distributing, and/or placing

into the stream of commerce of the subject ATV, including but not limited to pursuant to the

applicable standard of care, and the aforementioned agreement(s).

      45.     Plaintiffs used the subject ATV in a foreseeable and ordinary manner, of which

Defendant should have been aware, and for which Defendant’s expertise was relied upon; yet

Plaintiffs sustained the damages described herein due to the defects, breaches and negligence

described above.

      WHEREFORE, Plaintiffs, Linda and Harold Harwick, respectfully request judgment

against Defendant Deere & Company in an amount in excess of $150,000.00, plus costs

incident to this suit, delay damages, and for such other relief as this Honorable Court shall deem

appropriate under the circumstances.
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                                   de LUCA LEVINE LLC




                                BY:
                                      RAYMOND E. MACK, ESQUIRE
                                      PA ID: 91815
                                      JAMES P. CARFAGNO, ESQUIRE
                                      PA ID: 82960
                                      301 E. Germantown Pike, 3rd Floor,
                                      East Norriton, PA 19401
                                      215-383-0081
                                      215-383-0082 (fax)
                                      rmack@delucalevine.com
                                      jcarfagno@delucalevine.com
                                      ATTORNEYS FOR PLAINTIFFS


Dated: August 8, 2022
